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FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

zonsJuN 30 Pn w 22

 

ALOE|ON Q. D|CKERSON, a minor,

by her mother, next friend and guardian,
ROSALYND BRYANT,

P|aintiff,

V.

GREYHOUND LINES, |NC.,
Defendant.

AND

GRE¥HOUND L|NES, |NC.,
Cou nter-Plaintiff,

V.

ALOE|ON Q. DiCKERSON, a minor,

by and through her mother and next friend,
ROSALVND BRVANT; KAIV\\SH|A DANDR|DGE,

a minor, by and through her mother and next friend
N|ARY DANDRIDGE, et. al

Defendants

AND

K|MESHIA DANDR|DGE, a minor,
by and through her mother and
next friend |V|ARY DANDR|DGE
Counter P|aintiff

V.

GRE¥HOUND L|NESl |NC.,
Counter Defendant.

viii OF`rN. wants T

NO.: 04-2653-Ma V

 

A|V|ENDED ORDER ALLOW|NG PER|OD|C DEPOS|T OF

FUNDS |N COURT REG|STRY

 

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me nme 55 and/or re(a) FF.cP on __:2 _L' 323

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lt appearing to the Court, upon the motion of Defendant, Greyhound Lines, lnc., for
an Amended Order allowing periodic deposits on a four week basis of certain funds in the
Court Registry, its memorandum in support thereof, and the entire record in this cause, that
the motion is well taken and should be granted.

Therefore, it is ordered that Greyhound is allowed to make periodic deposits of
certain funds representing its obligation to the alleged survivor, or survivors, of Thomas
Dickerson, deceased, under the Workers Compensation statutes of the State of
Tennessee with the Court Registryl such periodic deposits of funds will be made upon a
four week basis. Further, the C|erk of this Court is directed to place such funds in an
interest-bearing account or to invest such funds in an interest-bearing instrument to be

approved by this Court.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CV-02653 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

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Honorable Diane Vescovo
US DISTRICT COURT

